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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     REARDEN LLC, et al.,                                 Case No. 17-cv-04006-JST (SK)
                                   8                     Plaintiffs,
                                                                                              ORDER STRIKING LETTER BRIEF
                                   9              v.

                                  10     THE WALT DISNEY COMPANY, et al.,                     Regarding Docket Nos. 400, 403
                                  11                     Defendants.

                                  12          Pursuant to the Court’s Standing Order, discovery disputes are to be presented to the Court
Northern District of California
 United States District Court




                                  13   in the form of a joint discovery letter brief after the parties have completed a meet and confer
                                  14   process on the discovery disputes at issue. https://perma.cc/CP25-XLKW. On June 13, 2023,
                                  15   Defendant Disney filed a unilateral letter brief in response a joint letter brief filed on June 12,
                                  16   2023. (Dkt. Nos. 399, 400.) On June 14, 2023, Plaintiffs notified the Court that Defendant is not
                                  17   a party to Plaintiff’s motion against the non-party and that Defendants did not meet and confer
                                  18   with Plaintiff before filing the letter brief. (Dkt. No. 403.)
                                  19          The Court hereby STRIKES Disney’s letter brief because it does not meet the requirements

                                  20   for submission of a letter brief. Parties are admonished that any future discovery disputes must be

                                  21   submitted as joint discovery briefs pursuant to the undersigned’s standing order. The Court will

                                  22   address Docket Number 399 ahead of the motion hearing set for June 29, 2023.

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                                  24          IT IS SO ORDERED.

                                  25   Dated: June 14, 2023

                                  26                                                     ______________________________________
                                                                                         SALLIE KIM
                                  27                                                     United States Magistrate Judge
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